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                   UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF INDIANA
                       INDIANAPOLIS DIVISION
                                               The Court acknowledges the
                                               Notice of Voluntary Dismissal
  DARRELL KAYE ASHER,                          without Prejudice, dkt. 26.
                                               JPH, 7/26/2021
  Plaintiff,                                   Distribution via ECF.

  v.                                               Case No. 1:17-cv-00771-JPH-DLP

  SKYLINE HEALTH SERVICES, LLC d/b/a
  DIABETIC CONNECT,
  Defendant.


               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        NOW COMES, DARRELL KAYE ASHER (“Plaintiff’), by and through his undersigned

 counsel, and in support of his Notice of Voluntary Dismissal without Prejudice, state as follows:

        Plaintiff, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily

 dismisses his claims against the Defendant, SKYLINE HEALTH SERVICES, LLC d/b/a

 DIABETIC CONNECT, without prejudice. Each party shall bear its own costs and attorney fees.

 Dated: July 21, 2021
                                                     Respectfully Submitted,

                                                     /s/ Nathan C. Volheim
                                                     Nathan C. Volheim
                                                     Counsel for Plaintiff
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